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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION


JOE ANDREW SALAZAR,

    Plaintiff,

    v.                                                  Civil Action No. 5:19-cv-75

AT&T MOBILITY LLC,                                      DEMAND FOR JURY TRIAL
SPRINT/UNITED MANAGEMENT
COMPANY, T-MOBILE USA, INC.,
AND CELLCO PARTNERSHIP D/B/A
VERIZON WIRELESS,

    Defendants.


 DECLARATION OF FRANCES H. STEPHENSON IN SUPPORT OF JOE ANDREW
SALAZAR’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                        UNDER RULE 12(b)(6)

I, Frances H. Stephenson, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

following is true and correct:

         1.      I am an attorney with the firm Keyhani LLC, attorneys for Plaintiff Joe Andrew

Salazar in the above captioned case. I am a member, in good standing, of the New York State

Bar. I am over 21 years of age. I have personal knowledge of the following facts or access to

information allowing me to confirm these facts.

         2.      Attached as Exhibit A is a true and correct copy of the Jury Verdict form executed

on May 11, 2018 from the trial of Salazar v. HTC Corp., 2:16-cv-01096-JRG (E.D. Tex.) (Dkt.#

272).

         3.      Attached as Exhibit B is a true and correct copy of HTC Corp.’s Motion for

Summary Judgment of Non-Infringement of the Asserted Claims of the ’467 patent in Salazar v.
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HTC Corp., 2:16-cv-01096-JRG (E.D. Tex.) (Dkt. #149).

         4.    Attached as Exhibit C is a true and correct copy of HTC Corp.’s Reply in Support

of its Motion for Summary Judgment of Non-Infringement of the Asserted Claims of the ’467

patent in Salazar v. HTC Corp., 2:16-cv-01096-JRG (E.D. Tex.) (Dkt. # 193).

         5.    Attached as Exhibit D is a true and correct copy of excerpts of the Transcript of

Jury Trial morning and afternoon sessions (May 10, 2018) in Salazar v. HTC Corp., 2:16-cv-

01096-JRG (E.D. Tex.).

         6.    Attached as Exhibit E is a true and correct copy of HTC Corp.’s responses to

plaintiff Joe Andrew Salazar’s Third Set of Interrogatories to Defendant HTC Corp. (December

11, 2017).

         7.    Attached as Exhibit F is a true and correct copy of the Courts Report and

Recommendation in connection with Defendant HTC Corp’s Motion for Summary Judgment of

Noninfringement [Dkt. # 149] Salazar v. HTC Corp., 2:16-cv-01096-JRG (E.D. Tex.) (Dkt.

#250).

         8.    Attached as Exhibit G is a true and correct copy of HTC Corp.’s responses to

plaintiff Joe Andrew Salazar’s Second Set of Interrogatories to Defendant HTC Corp. (May

November, 2017).

         9.    Attached as Exhibit H is a true and correct copy of HTC Corp.’s Motion to Sever

and Stay Claims Against Newly-Added Defendant AT&T, Inc. in Salazar v. HTC Corp., 2:16-

cv-01096-JRG (E.D. Tex.) (Dkt. # 55).

         10.   Attached as Exhibit I is a true and correct copy of Defendant AT&T Inc.’s Partial

Joinder to HTC Corp.’s Motion to Sever and Stay Claims against Newly-Added Defendant

AT&T Inc. in Salazar v. HTC Corp., 2:16-cv-01096-JRG (E.D. Tex.) (Dkt. # 70).




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         11.   Attached as Exhibit J is a true and correct copy of excerpts of the Transcript of

Jury Trial afternoon session (May 7, 2018) in Salazar v. HTC Corp., 2:16-cv-01096-JRG (E.D.

Tex.).

         12.   Attached as Exhibit K is a true and correct copy of excerpts of the Transcript of

Jury Trial (May 11, 2018) in Salazar v. HTC Corp., 2:16-cv-01096-JRG (E.D. Tex.).

         13.   Attached as Exhibit L is a true and correct copy of Joe Andrew Salazar’s

Opposition to HTC Corp.’s Motion to Dismiss its Counterclaim for Invalidity Without Prejudice

in Salazar v. HTC Corp., 2:16-cv-01096-JRG (E.D. Tex.) (Dkt. # 292).

         14.   Attached as Exhibit M is a true and correct copy of Plaintiff’s Motion for Leave

to Correct/Amend Joe Andrew Salazar’s Second Amended Original Complaint in Salazar v.

HTC Corp., 2:16-cv-01096-JRG (E.D. Tex.) (Dkt. # 62).

         15.   Attached as Exhibit N is a true and correct copy of the Court’s Final Judgment in

Salazar v. HTC Corp., 2:16-cv-01096-JRG (E.D. Tex.) (Dkt. # 284).

         16.   Attached as Exhibit O is a true and correct copy of Plaintiff Salazar’s Motion to

Compel (filed under seal) (Dkt. #118)

Dated: November 1, 2019


                                                           /s/Frances H. Stephenson_
                                                           Frances H. Stephenson
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